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                     EXHIBIT 4
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    Select Truth Social Posts from @rickywshifferjr Account

    Enough is enough. Be ready for war tomorrow. If you don't have ammunition,                 8/9/22
    magazines, and L.C.E. (load carrying equipment, the vest to hold ammunition I n            12:26 AM
    combat), leave work when the gun shop/pawn shop/Army‐Navy store opens
    tomorrow and get it. Take your weapon to work (you can leave it in your trunk if you
    dive something with one.) I know the Trump team will remove this, but they have to
    worry what the communists will do to the Trump grandchildren.
    Kill F.B.I. on sight.
    There is no nonviolent solution. Though it gets little coverage, they even arrested a      8/9/22
    candidate for governor (Michigan.). No, you can not vote your way out. No, you can         12:31 AM
    not protest your way out, if they cared what you thought, he'd be president.
    Remember how we got this country.
    As soon as the stores open tomorrow, leave work to get what you don't already have
    (don't cause a run on milk, I mean ammunition,agazines, etc.)
    No, it's been broken for more than a year. We can't organize, so we can't plan a           8/9/22
    rebellion. They've been conditioning us, especially this summer, to feel unable to         12:42 AM
    react (except online and by voting in rigged elections). We must return violence this
    time, it will be unorganized, but hopefully it will somehow find useful headway.
    Watch my feed, but I'll probably be one of the first ones dead, so don't be surprised if
    my feed is infiltrated. Kill those who trample you down, like Americans.
    People, this is it. I hope a call to arms comes from someone better qualified, but if      8/9/22
    not, this is your call to arms from me. Leave work tomorrow as soon as the gun             12:47 AM
    shop/Army‐Navy store/pawn shop opens, get whatever you need to be ready for
    combat. We must not tolerate this one. They have been conditioning us to accept
    tyranny and think we can't do anything for 2 years. This time we must respond with
    force. If you know of any protests or attacks, please post here.
    Yes. We should have started last year, but we (especially I) can't organize. This'll       8/9/22
    probably get taken down, so spread the word. Pray, spend time with your family, get        12:58 AM
    a good sleep.
    War is tomorrow.
    If somebody wanted to be a hero, there is no better time in history for them to live,
    it's time to act like Americans.
    Damn straight insurrection against the people who usurped our government. I hope           8/9/22 1:00
    to see you there (I won't be unarmed this time).                                           AM
    I intend to fight against them.                                                            8/9/22 1:00
                                                                                               AM
    He didn't, and he'll have no power to sell me out this time. Kill me if you can.           8/9/22 1:03
    Everyone else: regardless of plants, and of those who say things under threats to their    AM
    children, if you won't fight this worst enemy in history, you deserve what happens to
    you. Your children, unfortunately, do not.
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    Trump showed us we could still elect. The deep state AND the Republican Party               8/9/22 1:07
    showed that meant little. Then, in 2020, they showed we can't elect.                        AM
    What matters is THIS WEEK. Be ready for war tomorrow. Get ammunition, magazines,
    and a vest to hold them tomorrow if you don't have them.
    I don't remember if I said this in this thread, but they have conditioned us since March,
    2020 to feel we can't do anything but take it. Remember how America does it. Shoot
    the bastards.
    I am not. Let go of the psyop "we don't get violent.". How did we get this country?         8/9/22 1:13
    Until 3 years ago, American patriots were proud of their county's history of using          AM
    violence.
    If you won't protect your land and family, at the point of a weapon, from this worst
    ever enemy, you deserve to live under an Orwellian regime.
    They've known about me a long time. They fear me more than I fear them...only one           8/9/22 1:14
    of me will be dead when the raid's over.                                                    AM
    They do not want that. They want you to act the fool unarmed. They want you to              8/9/22 1:19
    shove a cop. They don't want their muscle dead.                                             AM
    Let's assume you were right: spring the trap. We can open fire, and see the plan, or
    we can stay here in 1984 while they chemically nueter your children (they call it
    gender affirming hormones, or something like that)
    America never backs down from an enemy trying to take away their rights.
    I will. Well, I'll be dead‐everyone, remember McConnell, Cheney, and Pence are the          8/9/22 1:25
    enemy. There are but 2 parties now, patriots and supporters of chemical castration of       AM
    prepubescent children.
    Remember to have maps, paper, on disk, or saved on a drive. One website (Map                8/9/22 1:28
    Quest, I think) disabled directions during the Freedom Convoy. Be ready for war             AM
    tomorrow. This isn't L.A.R.P.ing, plan for one parent to stay with the kids.
    Be ready for war tomorrow. Spread the word. Talk to your life bed ones. Pray.               8/9/22 1:33
                                                                                                AM
    Only if you open fire. They control the vote counting and the courts. Be ready to open      8/9/22 1:35
    fire tomorrow. Take your weapon to work, have it in the trunk (first, in case of news       AM
    that it started, second, because they know when you're not home, and might now who
    all has firearms.)
    It won't matter if we don't get violent. We see the courts are unfair and                   8/9/22 1:37
    unconstitutional, all that is left is force.                                                AM
    The controlled opposition weighs in.                                                        8/9/22 2:13
    For 2 years they've trained you to swallow tyranny and think you can't do anything.         AM
    Tomorrow, leave work as soon as the applicable store opens, and get ammunition,
    magazines, and L.C.E. if you don't have it. It starts tomorrow.
    "We investigated ourselves, and found Trump was the most dangerous child molester           8/9/22 2:16
    of all time."                                                                               AM
    You better snap out of the fantasy there's a plan, or a peaceful solution (those of you
    buying that.). Be ready for civil war tomorrow. All summer they've dialed up the
    attrocities, while you're told to cheerlead Arizona primaries. If you won't fight
    (violently) these villains, you don't deserve rights.
    Not the statement, the statement is a joke. Be ready to fight (literally, with live         8/9/22 2:38
    rounds) tomorrow, though, because the communists really did this.                           AM
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    Let go of that fantasy! Evil already won, now we need to fight a civil war to take back      8/9/22 2:41
    the country.                                                                                 AM

    Why do you idiots think they would rig an election and get away with it, then let him
    win and put them them in prison?
    You're a fool if you think the courts'll be fair.                                            8/9/22 2:45
    You're a fool if you think the elections'll be fair.                                         AM
    You're a fool if you think there's a nonviolent solution.
    If you don't fight back, like an American, you deserve everything that happens.
    God, and a few armed men, it's been done before. If you don't already have enough            8/9/22
    ammunition, magazines, and L.C.E. (vest that holds them), leave work as soon as those        12:00 PM
    stores open and buy them. It starts today. You can get L.C.E. at the Army‐Navy store.
    What happened when we did that in 2020? It's not like when they printed those                8/9/22
    ballots, the printer was out of cartridges. If you keep putting your faith in                12:53 PM
    demonstrably bad faith elections, you are a harmless subject. We have to kill these
    people, the way we celebrated Americans for killing tyranny's agents throughout
    history.
    Very important question                                                                      8/9/22 3:11
    No, I am proposing war. Be ready to kill the enemy, not mass shootings where leftists        PM
    go, not lighting busses on fire with transexuals in them, not finding people with leftist
    signs in their yards and beating them up. Violence is not (all) terrorism. Kill theF.B.I.
    on sight, and be ready to take down other active enemies of the people and those who
    try to prevent you from doing it.
    I hope he has copies of what was stolen, but not because it was something he wasn't          8/9/22 7:40
    allowed to have. This is like a case in 1948* where to protect a Democrat the F.B.I.         PM
    stole evidence. The guy whose evidence had been stolen thought ahead, took pictures
    of the evidence, hollowed out a pumpkin in his pumpkin patch, and hid the pictures
    there.
    *yeah, it's been going on that long, just not as bad
    I don't have faith milk will still be good of it sat out when it was 90Â°. I have faith in   8/9/22 7:45
    what works historically. That is Americans defeating those who oppose men's rights           PM
    on the battlefield. I wouldn't have had to remind any of you of that 3 years ago.
    Americans,if you don't have enough ammunition, magazines, and L.C.E., get it right
    now. Leave work early of that's what it means. Be ready for war today (though I feel
    the first action being in about 22 hours).
    Damn it, that one made me want to go to the library, but I can't turn my back on my          8/9/22 7:46
    weapon of the illegitimate authorities might take it.                                        PM
    I'm having trouble getting information, but Viva Frei said patriots are heading to Palm      8/9/22 8:08
    Beach (where Mar A Lago is). I recommend going, and being Florida, I think the feds          PM
    won't break it up. IF they do, kill them.
    I do not expect to save America, I do expect to die trying. If, when I am gone, you stick    8/10/22
    to this psuedohistorical line that America doesn't use violence, you deserve what            1:22 AM
    happens to you. Your children, unfortunately, do not.


    A couple old ones, so noone thinks they used to be good (as opposed to not as bad):          8/10/22
    Pete Rose was falsely accused of betting against a team he managed. The F.B.I. found         6:26 PM
    places Rose wrote down who was going to be the home team at upcoming games,
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    they said it was a gambling notebook.(1989)
    A Democrat was spying for Stalin. The F.B.I. stole evidence of it from a lawyer's office.
    (1948)
    Don't hide from them. When they try to make you fear, hold up a sign saying, "We              8/10/22
    love Trump," when they come for you, kill them. Be an American, not a steer.                  7:44 PM
    I am not psycho (and I'm telling this to a guy trying to look gangsta and naming himself      8/10/22
    "Lil Jit."). Many things are not solved by shooting people. Nazi Germany was. English         8:14 PM
    oppression of us was. Americans shooting people played a irreplaceable role in the
    cold war, even if the did call it that. When you catch a man beating your wife, but he's
    too far away to hit, you should shoot him.
    Well, I thought I had a way through bullet proof glass, and I didn't. If you don't hear       8/11/22
    from me, it is true I tried attacking the F.B.I., and it'll mean either I was taken off the   1:29 PM
    internet, the F.B.I. got me, or they sent the regular cops while
